Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 1 of 37 PageID #: 9610
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 2 of 37 PageID #: 9611
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 3 of 37 PageID #: 9612
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 4 of 37 PageID #: 9613
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 5 of 37 PageID #: 9614
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 6 of 37 PageID #: 9615
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 7 of 37 PageID #: 9616
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 8 of 37 PageID #: 9617
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 9 of 37 PageID #: 9618
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 10 of 37 PageID #: 9619
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 11 of 37 PageID #: 9620
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 12 of 37 PageID #: 9621
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 13 of 37 PageID #: 9622
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 14 of 37 PageID #: 9623
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 15 of 37 PageID #: 9624
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 16 of 37 PageID #: 9625
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 17 of 37 PageID #: 9626
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 18 of 37 PageID #: 9627
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 19 of 37 PageID #: 9628
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 20 of 37 PageID #: 9629
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 21 of 37 PageID #: 9630
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 22 of 37 PageID #: 9631
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 23 of 37 PageID #: 9632
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 24 of 37 PageID #: 9633
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 25 of 37 PageID #: 9634
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 26 of 37 PageID #: 9635
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 27 of 37 PageID #: 9636
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 28 of 37 PageID #: 9637
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 29 of 37 PageID #: 9638
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 30 of 37 PageID #: 9639
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 31 of 37 PageID #: 9640
Case 1:08-cv-04405-PKC-PK Document 291 Filed 05/23/13 Page 32 of 37 PageID #: 9641
  Case 1:08-cv-04405-PKC-PK
    Case  09-02566-MBK Doc 4Document   291 Filed
                               Filed 11/04/09    05/23/13
                                               Entered      Page 12:31:19
                                                        11/04/09 33 of 37 PageID #: 9642
                                                                           Desc Main
                              Document       Page 1 of 5

                                                                       11/4/2009




                                              Adversary No. 09-2566 (MBK)




DATED: 11/4/2009
Case 1:08-cv-04405-PKC-PK
  Case  09-02566-MBK Doc 4Document   291 Filed
                             Filed 11/04/09    05/23/13
                                             Entered      Page 12:31:19
                                                      11/04/09 34 of 37 PageID #: 9643
                                                                         Desc Main
                            Document       Page 2 of 5




                                                  Approved by Judge Michael Kaplan November 04, 2009
Case 1:08-cv-04405-PKC-PK
  Case  09-02566-MBK Doc 4Document   291 Filed
                             Filed 11/04/09    05/23/13
                                             Entered      Page 12:31:19
                                                      11/04/09 35 of 37 PageID #: 9644
                                                                         Desc Main
                            Document       Page 3 of 5




                                                  Approved by Judge Michael Kaplan November 04, 2009
Case 1:08-cv-04405-PKC-PK
  Case  09-02566-MBK Doc 4Document   291 Filed
                             Filed 11/04/09    05/23/13
                                             Entered      Page 12:31:19
                                                      11/04/09 36 of 37 PageID #: 9645
                                                                         Desc Main
                            Document       Page 4 of 5




                                                  Approved by Judge Michael Kaplan November 04, 2009
Case 1:08-cv-04405-PKC-PK
  Case  09-02566-MBK Doc 4Document   291 Filed
                             Filed 11/04/09    05/23/13
                                             Entered      Page 12:31:19
                                                      11/04/09 37 of 37 PageID #: 9646
                                                                         Desc Main
                            Document       Page 5 of 5




                                                  Approved by Judge Michael Kaplan November 04, 2009
